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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE KATRINA CANAL BREACHES                 *             CIVIL ACTION 05-4182
CONSOLIDATED LITIGATION                      *
                                             *
severed from Abadie, 06-5164                 *
                                             *
PERTAINS TO:                                 *             SECTION “K” (2)
                                             *
Angle Rilleaux-Fields v.                     *             Judge Stanwood R. Duval, Jr.
State Farm Fire and Casualty Company,        *
Case Number 07-2456                          *
*************************************

                          MEMORANDUM IN SUPPORT OF
                         MOTION TO ENFORCE SETTLEMENT

MAY IT PLEASE THE COURT:

       On January 16, 2008, Angeli Rillieux-Fields entered into a Confidential Receipt and

Release Agreement (hereinafter “Agreement”) with State Farm Fire and Casualty Company

(hereinafter “State Farm”) to settle her claim for damages related to Hurricane Katrina for the

following settlement amounts: $15,000.00 for “Building” Coverage; $4,000.00 for “Personal

Property” Coverage; and $4,000.00 for “Additional Living Expense” Coverage. Bruno & Bruno,

LLP (hereinafter “Bruno”) disbursed the uncontested $8,000.00 to Angeli Rillieux-Fields less

attorneys’ fees. Bruno was unable to disburse the proceeds of the $15,000.00 check to Angeli

Rillieux-Fields as the Office of Community Development, Division of Administration for the

State of LA (“Road Home”), Standard Mortgage Corp ISAOA ATIMA, and Regions Bank

ATTN: COLLATERAL INS DEPT were all named as additional payees. In order for the Road

Home to make a determination regarding any interest it may have in the settlement proceeds,

Bruno submitted a “Request for Approval.” During the pendency of the Road Home review

process, the $15,000.00 check expired. While the Road Home and the applicable mortgage
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companies ascertained their respective interests in the settlement proceeds, Bruno requested

reissue of Angeli Rillieux-Fields’ settlement payment through State Farm. Despite repeated

requests, State Farm refused to reissue the check. To date, State Farm has not provided affiant

with the agreed upon proceeds from the January 16, 2008 settlement agreement.

       Angeli Rillieux-Fields learned via letter from the State of Texas that State Farm

deposited the applicable settlement proceeds in the State of Texas’s Unclaimed Property Fund.

As such, State Farm has failed to honor the January 16, 2008 Settlement Agreement and its

obligations therein.

       Furthermore, State Farm has failed to honor Bruno’s lien – an interest in the claim

statutorily granted by LSA–R.S. 37:218 which gives Bruno a special privilege to attorneys for

the amount of their professional fees on any recovery obtained by settlement. State Farm had

notice of Bruno’s lien, but failed to protect Bruno’s interest in the settlement proceeds.

       Bruno moves for leave to file its proposed Motion to Enforce Settlement in hopes that

this Court will have Defendant, State Farm, honor the terms, conditions, and obligations set forth

by their own counsel in the “Release,” executed by Angeli Rillieux-Fields on January 16, 2008.

Furthermore, Bruno moves for leave to file its proposed Motion to Enforce Settlement in hopes

that Bruno can satisfy its contractual obligation to tender the amount(s) due pursuant to the

settlement agreement executed in conjunction with the underlying litigation and agreed upon by

both Client and Bruno on March 17, 2006, which is evidenced by the contract attached as Exhibit

“A.”

       State Farm and Angeli Rillieux-Fields are hereby notified of Bruno’s intent to seek this

Honorable Court’s leave to file its’ Motion to Enforce Settlement.




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                                             Respectfully submitted:

                                             /s/ Melissa DeBarbieris
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                                CERTIFICATE OF SERVICE

       I hereby certify that I have served a copy of the above and foregoing upon all counsel of

record by placing same in the United States mail, properly addressed and with first-class postage,

or by facsimile or other electronic transmission this 28th day of September, 2015.


                                                     /s/ Melissa DeBarbieris
                                                     Melissa DeBarbieris




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